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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

ANTHONY WOODS (#S-06486),

             Plaintiff,
                                                 No. 14 CV 1794
        v.
                                                 Judge Manish S. Shah
MICHAEL MAGANA,

             Defendant.

                          MEMORANDUM OPINION AND ORDER

      Plaintiff Anthony Woods, a prisoner currently incarcerated at Sheridan

Correctional Center, brought this action pro se under 42 U.S.C. § 1983, alleging that

he was unlawfully held in custody at Stateville Correctional Center for

approximately two months after November 28, 2013—the date he says he should

have been released. According to Woods, deliberate indifference on the part of prison

officials led to his prolonged incarceration. Michael Magana, the acting Warden at

Stateville Correctional Center from January 1, 2014 to March 31, 2014, is the sole

defendant to this action. Defendant Magana has moved for summary judgment. For

the reasons discussed below, the motion is granted.

                                   BACKGROUND

Local Rule 56.1

      Local Rule 56.1 governs the procedures for filing and responding to motions for

summary judgment in this court. Local Rule 56.1(a) requires the moving party to

provide “a statement of material facts as to which the moving party contends there is
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no genuine issue” for trial. See Ammons v. Aramark Uniform Servs., Inc., 368 F.3d

809, 817 (7th Cir. 2004). “All material facts set forth in the statement required of the

moving party will be deemed to be admitted unless controverted by the statement of

the opposing party.” L.R. 56.1(b)(3)(C). The party opposing summary judgment shall

submit “a statement, consisting of short numbered paragraphs, of any additional

facts that require the denial of summary judgment.” Id.

      To defeat summary judgment, the opposing party “must file a response to each

numbered paragraph in the moving party’s statement” of fact. Schrott v.

Bristol-Myers Squibb Co., 403 F.3d 940, 944 (7th Cir. 2005) (internal quotation

marks omitted). In the case of any disagreement, the opposing party must reference

“affidavits, parts of the record, and other supporting materials.” Id. “[M]ere

disagreement with the movant’s asserted facts is inadequate if made without

reference to specific supporting material.” Smith v. Lamz, 321 F.3d 680, 683 (7th Cir.

2003). A plaintiff’s pro se status does not excuse him from complying with Local Rule

56.1. See Greer v. Bd. of Educ. of City of Chicago, 267 F.3d 723, 727 (7th Cir. 2001);

Cady v. Sheahan, 467 F.3d 1057, 1061 (7th Cir. 2006).

      Consistent with the Local Rules, defendant Magana filed a statement of

uncontested material facts along with his motion for summary judgment. [41], Def.

Stmt. of Fact (“DSOF”). Each relevant substantive assertion of fact in the Local Rule

56.1(a) statement is supported by evidentiary material in the record. Also consistent




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with the Local Rules, Magana filed and served on Woods a Local Rule 56.2 Notice,

which explained in detail the requirements of Local Rule 56.1. [39].

        In response, Woods filed a single document titled “Plaintiff's Response to

Defendant's Motion for Summary Judgment.” [45], (“Pl. Resp.”). Plaintiff’s response

appears to consist of a response to defendant’s statement of facts (see Pl. Resp. at

3-4); a statement of additional facts (see Pl. Resp. at 5-6); and a brief in response to

defendant’s arguments (see Pl. Resp. at 7-15). Woods, however, did not properly

dispute defendant’s facts because his response contains no citations to the record but

rather references information contained in his separate statement of facts. See N.D.

Ill. L.R. 56.1(b)(3)(B) (explaining that any response to the moving party’s statement

of facts must include “in the case of any disagreement, specific references to the

affidavits, parts of the record, and other supporting materials relied upon”).

Similarly, many of Woods’s additional facts are not properly supported by admissible

evidence or are purely argumentative and therefore will not be considered.

        Accordingly, defendant Magana’s facts are admitted. See N.D. Ill. L.R.

56.1(b)(3)(C); Keeton v. Morningstar, Inc., 667 F.3d 877, 880 (7th Cir. 2012); Parra v.

Neal, 614 F.3d 635, 636 (7th Cir. 2010). To the extent there are other undisputed

material facts in the record, those facts are also considered.

Facts

        In 2011, Plaintiff Anthony Woods was arrested on charges of violating an

order of protection. See DSOF ¶ 5. His criminal case was assigned case number 11 CR


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2113401. DSOF ¶ 6. Woods subsequently was convicted on the charges and sentenced

to two years of imprisonment and one year of mandatory supervised release (“MSR”).

DSOF ¶¶ 5, 6.

      On November 28, 2012, Woods was released on MSR. DSOF ¶ 7. The

conditions of Woods’s MSR mandated that he not commit any other crimes and that

he remain at least 500 feet away from his victim. DSOF ¶¶ 9, 10. Woods understood

that if he violated the terms of his MSR, his MSR could be terminated and he would

be required to serve the remainder of his sentence. DSOF ¶ 11.

      Woods was arrested twice while on MSR. On August 22, 2013, Woods was

convicted of a misdemeanor theft that occurred the previous day. DSOF ¶ 13.

Approximately one month later, Woods visited his victim’s place of employment on

three occasions, in violation of the provision of his MSR that required him to remain

at least 500 feet away from his victim. DSOF ¶¶ 15, 16. As a result, on September 27,

2013, Woods was arrested. DSOF ¶ 16; see Ex. C-1 to DSOF at IDOC000003. Woods

also was charged with and subsequently convicted of stalking as a result of his

conduct in September 2013. DSOF ¶ 17. He was sentenced to four years of

imprisonment on the stalking conviction, with a projected parole date of December 7,

2015 (DSOF ¶¶ 17, 19); the dates of his conviction and sentencing are unclear.

      On December 3, 2013, the Prisoner Review Board declared Woods in violation

of his MSR “as of 3/14/13” and revoked Woods’s MSR. Ex. C-1 to DSOF at

IDOC000002. The rationale given for the revocation was that Woods committed the


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criminal offense of theft on August 22, 2013, and that he violated the no-contact term

of his MSR. Id. Woods’s sentence on case no. 11 CR 2113401 was then recalculated,

resulting in a “projected discharge/out date” of February 4, 2014. Ex. C-1 to DSOF at

IDOC000001. Woods was transported from Cook County Jail to Stateville

Correctional Center the next day (see Pl. Resp. at 8 (“I ain’t get to Stateville until

12/4/13”)), and on February 3, 2014, the Illinois Department of Corrections returned

him to the jail (see Pl. Resp. at 8 (“I ain’t leave Stateville until 2-3-14”)).

       Woods contends that he had a mandatory release date of November 28, 2013,

on case no. 11 CR 2113401.1 See [13] at 4. In December 2013, Woods submitted

letters to the Warden and records office at Stateville about allegedly being held past

his mandatory release date. DSOF ¶ 23. Defendant Magana, however, was not

Stateville’s Warden at that time; Magana became Warden at Stateville on January 1,

2014, and served as the Assistant Warden of Operations at Sheridan Correctional

Center prior to that time. DSOF ¶ 25. Woods did not submit any correspondence

directly to Magana and never spoke to Magana about being held past his release

date. DSOF ¶ 22. Likewise, Woods did not submit any written correspondence to the

Warden’s office after December 2013. See DSOF ¶ 23. Magana does not recall

receiving any correspondence from Woods. DSOF ¶ 26.

       Woods did not submit a grievance about being held past his mandatory release

date. DSOF ¶¶ 33, 34. The Illinois Department of Corrections has a formal grievance

1The parties presented no evidence showing that Woods’s original release date was, in fact,
November 28, 2013, but defendant does not dispute the date.
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procedure for inmates with three steps. DSOF ¶¶ 27–28; see 20 Ill. Admin. Code

§ 504.800 et seq. The grievance procedure must be used “to resolve incidents,

problems, or complaints other than complaints concerning disciplinary proceedings,”

but “shall not” be used “for complaints regarding decisions that are outside the

authority of the Department, such as parole decisions, clemency, or orders regarding

the length of sentences or decisions which have been rendered by the Director.” 20 Ill.

Admin. Code § 504.810(a); see Ex. D to DSOF.

      Instead of submitting a grievance, Woods filed this federal lawsuit. Woods

alleges in the operative complaint that he was sentenced to two years in prison and

was in custody from November 28, 2011, to November 28, 2012. [13] at 4. He also had

one year of parole, from November 28, 2012, to November 28, 2013. Id. According to

Woods, he served parole on house arrest from November 28, 2012 to September 27,

2013, and had a mandatory release date of November 28, 2013. Id. However, he was

incarcerated at Stateville from December 4, 2013, to February 3, 2014, and “all

together I was in IDOC custody from September 27, 2013 to February 3, 2014 that’s

two months after the mandatory outdate.” Id. Woods also alleges: “Then on top of

that they came and got me again 2/7/14 and brought me back to Cook County for no

reason.” Id. Woods was allowed to proceed on his claim against Defendant Magana

that Woods was held for two months past his mandatory release date. [12].

      Defendant Magana now moves for summary.




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                          SUMMARY JUDGMENT STANDARD

      Summary judgment is appropriate “if the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a

matter of law.” Fed. R. Civ. P. 56(a). A genuine issue of material fact exists if “the

evidence is such that a reasonable jury could return a verdict for the nonmoving

party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). The party seeking

summary judgment has the burden of establishing that there is no genuine dispute

as to any material fact. See Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986).

      After a properly supported motion for summary judgment is made, the party

opposing summary judgment “may not rest upon the mere allegations or denials of

his pleadings, but . . . must set forth specific facts showing that there is a genuine

issue for trial.” Anderson, 477 U.S. at 248 (internal quotation marks omitted). That

is, to survive summary judgment, the nonmoving party must go beyond the pleadings

and “identify with reasonable particularity the evidence upon which [he] relies.”

Hemsworth v. Quotesmith.Com, Inc., 476 F.3d 487, 490 (7th Cir. 2007). Moreover,

evidence submitted in opposition to summary judgment must be admissible at trial

under the Federal Rules of Evidence, although attested testimony, such as that found

in depositions or affidavits will also be considered. See id; Scott v. Edinburg, 346 F.3d

752, 759-60 & n.7 (7th Cir. 2003).

      The court does not evaluate the weight of the evidence, judge credibility of

witnesses, or determine the truth of the matter, but instead, determines whether


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there is a genuine issue of triable fact after considering the facts in the light most

favorable to the movant. Nat’l Athletic Sportswear, Inc. v. Westfield Ins. Co., 528 F.3d

508, 512 (7th Cir. 2008). Summary judgment is appropriate if, on the evidence

provided, no reasonable juror could return a verdict in favor of the non-movant.

Gordon v. FedEx Freight, Inc., 674 F.3d 769, 772-73 (7th Cir. 2012) (citation omitted);

see Anderson, 477 U.S. at 256-57.

                                      ANALYSIS

       Magana argues that he is entitled to summary judgment because: (1) Woods

failed to exhaust administrative remedies before bringing this federal action; (2)

Woods’s incarceration was lawful; and (3) Woods failed to identify evidence showing

that Magana was personally involved in any alleged constitutional violation

concerning Woods.2




2 Magana also argued in his opening brief that Woods’s claim was barred by Heck v.
Humphrey, 512 U.S. 477 (1994), because, according to Magana, Woods was attempting to
improperly challenge the conviction resulting from the 2013 stalking charges. Magana
subsequently withdrew this argument.
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Failure To Exhaust

      As an inmate in custody of the Illinois Department of Corrections, Woods was

required to follow the grievance process outlined in the Illinois Administrative Code

to properly exhaust his claims. See 42 U.S.C. § 1997e(a); Porter v. Nussle, 534 U.S.

516, 524-25 (2002). Woods, however, was required to “exhaust only those

administrative remedies that [were] available” to him. See Lewis v. Washington, 300

F.3d 829, 833 (7th Cir. 2002). Exhaustion is an affirmative defense on which the

defendant bears the burden of proof. Pavey v. Conley, 663 F.3d 899, 903 (7th Cir.

2011); Brengettcy v. Horton, 423 F.3d 674, 682 (7th Cir. 2005). Moreover, exhaustion

is a threshold matter and should be addressed before proceeding to any disposition

on the merits. See Roberts v. Neal, 745 F.3d 232, 234 (7th Cir. 2014).

      Woods did not file a grievance about being incarcerated on the 2011 case past

his alleged release date. Defendant, however, failed to establish that Woods was

required to file a grievance concerning his release date. Specifically, the Illinois

Administrative Code instructs that “[t]he grievance procedure shall not be utilized

for complaints regarding decisions that are outside the authority of the Department,

such as parole decisions . . . or orders regarding length of sentence . . . .” See 20 Ill.

Admin. Code § 504.810(a).

      The scenario presented by Woods’s civil rights action—i.e., a challenge to the

calculation of his release date—arguably falls within the scope of complaints for

which the grievance process is unavailable because his complaint challenged both the


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duration of his term of imprisonment and a calculation potentially performed by the

Prisoner Review Board, which appears to be an entity separate from the Illinois

Department of Corrections. See 730 ILCS 5/3-3-2 (establishing the Illinois Prisoner

Review Board). Defendant submitted no evidence showing what entity was

responsible for re-calculation of Woods’s term of imprisonment or that Woods was

required to use the grievance process to resolve his challenge to the calculation of his

release date. Defendant also presented no evidence that other potential remedies

were available to, but not utilized by, Woods before pursuing this action for

damages.3 Consequently, defendant failed to show that Woods did not exhaust the

administrative remedies available to him before bringing this federal action.

Woods’s November 28, 2013, to February 4, 2014, Incarceration

       Magana argues that he is entitled to summary judgment because Woods was

legally incarcerated on the 2013 stalking charges during the time that he allegedly

was held past his mandatory release date in the 2011 case, i.e., after November 28,

2013. To establish liability on a claim that he was held past his mandatory release


3 For example, defendant did not argue that Woods could have challenged the recalculation
of his release date through direct or collateral review. Ordinarily, Heck, 512 U.S. at 486–87,
precludes claim for damages under Section 1983 that would call into question the lawfulness
of a prisoner’s sentence unless the prisoner can prove that the sentence has been reversed on
direct appeal or declared invalid by a state tribunal authorized to make such determination.
Here, Woods’s ability to challenge the recalculated release date is unclear. Although he
remained in custody, the sentence on the 2011 case had been discharged at the time he
brought this civil action. See Simpson v. Nickel, 450 F.3d 303, 307 (7th Cir. 2006) (explaining
that Heck “is limited to prisoners who are ‘in custody’ as a result of the defendants’
challenged acts, and who therefore are able to seek collateral review. Take away the
possibility of collateral review and § 1983 becomes available”) (emphasis in original).
Defendant made no showing that direct or collateral review of the release date was available
to Woods.
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date, a prisoner must demonstrate that (1) the defendant “held him beyond the term

of his incarceration without penological justification”; and (2) “the prolonged

detention was the result of the defendants’ ‘deliberate indifference’.” Armato v.

Grounds, 766 F.3d 713, 721 (7th Cir. 2014) (citing Campbell v. Peters, 256 F.3d 695,

700 (7th Cir. 2001)). Deliberate indifference is shown where the defendant ignored a

known risk of prolonged confinement. Id.

      Defendant’s argument that Woods was incarcerated on the 2013 stalking

charges after November 28, 2013, is not quite supported by record evidence. The

evidence shows that Woods was re-arrested on September 2, 2013, on an MSR

violation and subsequently convicted of stalking. Defendant cited to no evidence

showing when the stalking charges were brought or when Woods was convicted or

sentenced for stalking. Instead, defendant cited to a hard copy of Woods’s “internet

inmate status” showing a custody date of December 7, 2013, on the stalking charges.

Ex. F to DSOF. Defendant produced no evidence showing that the custody date is

anything but the date on which Woods initially was taken into custody for the offense

of stalking. The evidence produced by Defendant shows only that Woods’s custody on

the stalking charges began nine days after, Woods says, he was to have been released

on the 2011 charges.

      Nevertheless, Woods (who bears the burden of proof at trial) failed to produce

evidence showing he was held beyond the term of his incarceration on the 2011

charges without penological justification. Woods says that his incarceration in the


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2011 case was to end on November 28, 2013, but defendant produced evidence

showing that on September 27, 2013, Woods was taken into custody on a warrant for

violation of the conditions of his parole (see DSOF ¶ 16; Ex. C-1 to DSOF at

IDOC000003), and that the Prisoner Review Board subsequently found Woods in

violation of his MSR (DSOF ¶ 18; Ex. C-1 to DSOF at IDOC000002). Woods’s

sentence was re-calculated at that time (December 3, 2013) and a new release date of

February 4, 2014, was established. See DSOF ¶ 18; see Ex. C-1 to DSOF at

IDOC000001. Woods produced no evidence showing that his original release date of

November 28, 2013, remained in effect after he was re-arrested for violating the

terms of his MSR or that the February 4, 2014 release date had been miscalculated.

Woods also cited to no law supporting his implied contention that once a release date

is established, it remains unalterable in light of subsequent events such as re-arrest

for violation of the MSR terms.

      Thus, Woods’s assertion that he was entitled to release from custody on

November 28, 2013, is an unsupported, conclusory allegation that is insufficient to

survive summary judgement. Anderson, 477 U.S. at 248 (explaining that non-movant

may not rest on allegations in the pleadings or on conclusory statements; non-movant

must go beyond the pleadings and support his contentions with documentary

evidence). Summary judgment is appropriate on this basis alone. See Celotex, 477

U.S. at 322-23 (“Rule 56(c) mandates the entry of summary judgment . . . against a

party who fails to make a showing sufficient to establish the existence of an element


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essential to the party’s case, and on which that party will bear the burden of proof at

trial.”).

        Woods also produced no evidence showing that Magana knew about Woods’s

alleged attempt to bring his release date to the attention of the former Warden and

therefore Woods cannot establish that Magana was deliberately indifferent to

Woods’s allegedly prolonged incarceration. Record evidence shows that Magana

became the Warden at Stateville on January 1, 2014, but that Woods did not send

written correspondence to the Warden’s office on or after January 1, 2014; Woods

sent all correspondence concerning his release date in December 2013. DSOF ¶¶

23-25. Woods argues that his letters to the former Warden should have been in the

Warden’s “pile of work” when Magana arrived on January 1, 2014 (Pl. Resp. at 6), but

this is based on speculation and is insufficient to defeat summary judgment. See

Herzog v. Graphic Packaging Int’l, Inc., 742 F.3d 802, 806 (7th Cir. 2014). Likewise,

Woods’s observation that Magana “doesn’t say he’s a 100 percent sure . . . that he

didn’t receive correspondence from me” (Pl. Resp. at 9) is insufficient to proceed to

trial on the issue of whether Magana knew about Woods’s letters concerning his

release date and ignored them. See Harris N.A. v. Hershey, 711 F.3d 794, 798 (7th

Cir. 2012) (explaining that non-movant must produce more than “a mere scintilla of

evidence” and come forward with “specific facts showing that there is a genuine issue

for trial” to defeat summary judgment).




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      Moreover, Woods cannot defeat summary judgement by reliance on his

statement that he told correctional officers about being held past his release date and

that the officers, in turn, told Woods that they would give the message to the Warden.

A party opposing summary judgment cannot create a disputed issue of fact by relying

on inadmissible hearsay. See MMG Fin. Corp. v. Midwest Amusements Park, LLC,

630 F.3d 651, 656 (7th Cir. 2011); Eisenstadt v. Centel Corp., 113 F.3d 738, 742 (7th

Cir. 1997). Here, the statements of correctional officers cannot be offered for the

truth of the matter asserted, i.e., that the officers in fact told Magana about Woods’s

concerns, against Magana. Woods cannot show that Magana knew about and was

deliberately indifferent to Woods’s allegedly prolonged incarceration based on

hearsay. A reasonable juror could not find that Magana was responsible for Woods’s

allegedly prolonged incarceration.

The Events of February 7, 2014

      Finally, in addition to his allegation that he was unlawfully incarcerated from

November 28, 2013 to February 4, 2014, Woods alleges: “Then on top of that they

came and got me again 2/7/14 and brought me back to Cook County for no reason.”

[13] at 4. Woods subsequently clarified in response to defendant’s motion for

summary judgment that he does not challenge the fact of his incarceration on

February 7, 2014, but rather contends that he was wrongfully confined at Stateville

for a couple of hours on that date when he should have been confined at Cook County

Jail. See Pl. Resp. at 8. Woods does not explain why he believes that his brief


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confinement at Stateville was unconstitutional. Woods also produced no evidence

showing that Defendant Magana was aware of Woods’s transit through Stateville on

February 7, 2014. Consequently, Woods’s claim concerning his detention at Stateville

on February 7, 2014, cannot survive summary judgment.

                                    CONCLUSION

      Defendant’s motion for summary judgment [40] is granted. Enter judgment in

favor of defendant and terminate civil case.

      If Woods wishes to appeal this decision, he may file a notice of appeal in this

court within thirty days of the entry of judgment. Fed. R. App. P. 4(a)(1)(A). If Woods

chooses to appeal, he will be responsible for paying the $505 appellate filing fee

irrespective of the outcome of the appeal. Evans v. Ill. Dep't of Corr., 150 F.3d 810,

812 (7th Cir. 1998). Furthermore, if the appeal is found to be non-meritorious, Woods

may accumulate a strike under 28 U.S.C. ' 1915(g).


ENTER:

Date: 7/17/15                           _____________________________
                                        Manish S. Shah
                                        United States District Judge




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